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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Eastern District of Arkansas

                   United States of America                           )
                              v.                                      )
                                                                      )   Case No: 4:05cr00032-02 JMM
                      BRENT CHADBAND
                                                                      )   USM No: 23602-009
Date of Previous Judgment: 10/4/2005                                  )   Edward T. Oglesby
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 10/4/2005  months is reduced to 57 months                  .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:      27             Amended Offense Level:                                                         25
Criminal History Category:    I             Criminal History Category:                                                      I
Previous Guideline Range: 70   to 87 months Amended Guideline Range:                                             57           to 71   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 10/4/2005                     shall remain in effect.
IT IS SO ORDERED.

Order Date:         April 4, 2008                                                                /s/ James M. Moody
                                                                                                    Judge’s signature


Effective Date:                                                                James M. Moody, United States District Judge
                     (if different from order date)                                               Printed name and title
